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                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                      CRIMINAL MINUTE SHEET
USA v.      Adam Dean Fox*                                                               Mag. Judge: Sally J. Berens

    CASE NUMBER                       DATE                TIME (begin/end)              PLACE                   INTERPRETER


 1:20-cr-00183-RJJ                   3/4/2022             1:31 PM - 2:13 PM           Grand Rapids


APPEARANCES:
Government:                                              Defendant:                                      Counsel Designation:
Nils R. Kessler and Jonathan Roth                        Christopher M. Gibbons*                         CJA Appointment


          OFFENSE LEVEL                                CHARGING DOCUMENT/COUNTS                            CHARGING DOCUMENT
                                                                                                         Read
Felony                                      Superseding Indictment                                       Reading Waived

            TYPE OF HEARING                                       DOCUMENTS                               CHANGE OF PLEA

    First Appearance                                  Defendant's Rights                        Guilty Plea to Count(s)
    Arraignment:                                      Waiver of                                 of the
         mute              nolo contendre             Consent to Mag. Judge for
                           guilty                                                               Count(s) to be dismissed at sentencing:
         not guilty
                                                      Other:
    Initial Pretrial Conference
                                                                                                Presentence Report:
    Detention         (waived    )                                                                     Ordered      Waived
    Preliminary    (waived       )                 Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                                 Report & Recommendation
                                                                                                     No Written Plea Agreement
    Revocation/SRV/PV                                 Order of Detention
                                                      Order to file IPTC Statements
    Bond Violation                                                                                    EXPEDITED RESOLUTION
                                                      Bindover Order
    Change of Plea                                    Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                        Other:                                         expedited resolution
✔   Other: Motions**

                   ADDITIONAL INFORMATION                                              SENTENCING
*Barry Gordon Croft, Jr. (Attorney Joshua Adam Blanchard), Daniel Imprisonment:
Joseph Harris (Attorney Julia Anne Kelly), and Brandon Michael-   Probation:
Ray Caserta (Attorney Michael Darragh Hills)
                                                                  Supervised Release:
                                                                  Fine: $
**ECF Nos. 493 and 502; order to issue.
                                                                  Restitution: $
                                                                  Special Assessment: $
                                                                  Plea Agreement Accepted:             Yes    No
                                                                  Defendant informed of right to appeal:         Yes                No
                                                                  Counsel informed of obligation to file appeal:  Yes               No


                  CUSTODY/RELEASE STATUS                                                 BOND AMOUNT AND TYPE

Detention Continued                                                    $

CASE TO BE:           Referred to District Judge                      TYPE OF HEARING: Further Proceedings

Reporter/Recorder:          Digitally Recorded                        Courtroom Deputy:              J. Lenon
